     Case 4:21-cv-02155-YGR          Document 465-2       Filed 03/27/23     Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8

 9

10                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11                                   OAKLAND DIVISION
12
      In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR-VKD
13    Litigation,
                                                      [proposed] ORDER GRANTING
14                                                    PLAINTIFFS’ ADMINISTRATIVE
      This document applies to: all actions.          MOTION TO CONSIDER WHETHER
15
                                                      ANOTHER PARTY’S MATERIALS
16                                                    SHOULD BE SEALED

17                                                    [Civil L.R. 7-11, 79-5(f)]

18                                                    Judge: Hon. Virginia K. DeMarchi
19

20

21

22

23

24

25

26

27

28
                                                                          Case No. 4:21-cv-02155-YGR-VKD
                                 [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMIN. MOTION TO CONSIDER WHETHER
                                                            ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
     Case 4:21-cv-02155-YGR         Document 465-2        Filed 03/27/23      Page 2 of 2




 1                                        [PROPOSED] ORDER
 2           Before the Court is Plaintiffs’ Administrative Motion to Consider Whether Another Party’s
 3 Materials Should Be Sealed and all supporting papers. Plaintiffs do not join in the request to seal the

 4 materials at issue.

 5           Having considered the supporting declaration of the Designating Party, Google LLC, the
 6 Court ORDERS the following:

 7                                    Portions Sought to be         Evidence Offered in
                 Document                                                                      Ruling
                                              Sealed                Support of Sealing
 8    1   Appendix A to             Highlighted portions on        Defendant to provide
          Plaintiffs’               pages 1–8, concerning          evidence, per Local
 9                                                                 Rule 79-5(f)
          Administrative Motion     hyperlinks and description
10        for Leave to File         of links
          Supplemental Material
11        At-Issue in the Joint
          Discovery Letter Brief
12        Regarding the
13        Production of
          Hyperlinked Documents
14

15
             IT IS SO ORDERED.
16

17
     Date:
18                                                               Hon. Virginia K. DeMarchi
                                                                 United States Magistrate Judge
19

20

21

22

23

24

25

26

27

28
                                                     1                   Case No. 4:21-cv-02155-YGR-VKD
                                [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMIN. MOTION TO CONSIDER WHETHER
                                                           ANOTHER PARTY’S MATERIALS SHOULD BE SEALED
